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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


UNITED STATES OF AMERICA,                      CR 20-86-BLG-SPW


                         Plaintiff,
                                              PRELIMINARY ORDER OF
           vs.                                FORFEITURE


IVAN ZACH ROCK,

                         Defendant.




      WHEREAS,in the indictment in the above case, the United States sought

forfeiture of any property ofthe above-captioned person, pursuant to 18 U.S.C.

§ 924(d), as property used or intended to be used to facilitate the violations alleged

in the indictment, or as proceeds of said violation;

      And whereas, on March 22,2021, the defendant entered a plea of guilty to

the indictment, which charged him with prohibited person in possession of a

firearm and ammunition;

      And whereas, the indictment contained a forfeiture allegation that stated that

as a result ofthe offenses charged in the indictment, the defendant shall forfeit the

following property:

      •      Romarm/Cugir, model S.A.R. 1, 7.62x39 mm caliber semi-automatic
             rifle (S/N: SI-36398-2001);
      •      Browning Buckmark pistol,.22 caliber(S/N: obliterated); and
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